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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

DEBRA MEEKER-SERENO                                      §
                                                         §
          Plaintiff,                                     §
                                                         §
                                                         §           Civil Action No. 4:22-cv-01923
v.                                                       §
                                                         §
DEUTSCHE BANK NATIONAL TRUST                             §
COMPANY,                                                 §
                                                         §
          Defendant.                                     §

     DEFENDANT’S NOTICE OF SERVICE OF ITS INITIAL RULE 26 DISCLOSURES

        Defendant Deutsche Bank National Trust Company, as Trustee for Argent Securities Inc.,

Asset-Backed Pass-Through Certificates, Series 2005-W21 (“Deutsche Bank” or “Defendant”)

hereby certifies it served its Initial Disclosures in accordance with Federal Rule of Civil

Procedure 26(a)(1)(A)-(D) and order of the Court on Plaintiff Debra Meeker-Sereno via their

attorney of record, Robert C. “Clay” Vilt, 5177 Richmond Avenue, Suite 1142 Houston, TX

77056, clay@viltlaw.com




1
 Plaintiff incorrectly named "Deutsche Bank National Trust Company" as the party-defendant in this case.
Deutsche Bank National Trust Company, as Trustee for Argent Securities Inc., Asset-Backed Pass-Through
Certificates, Series 2005-W2 is the correctly named party.


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                                                  Respectfully submitted,


                                               By: /s/ Nicholas M. Frame
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                                               ATTORNEYS FOR DEFENDANT

                              CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document has been served
via ECF notification on September 16, 2022 to the following counsel of record:

       Robert C. “Clay” Vilt
       VILT AND ASSOCIATES – TX, P.C.
       Chase Bank Building
       5177 Richmond Avenue, Suite 1142
       Houston, TX 77056


                                                        /s/ Nicholas M. Frame
                                                        NICHOLAS M. FRAME




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